             Case 1:18-vv-00693-UNJ Document 51 Filed 04/03/20 Page 1 of 2


                                               CORRECTED

    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0693V
                                        (not to be published)


    FLINT ALLEN,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: March 4, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Julia Marter Collison, U.S. Department of Justice, Washington, DC, for Respondent.

                        DECISION ON ATTORNEY’S FEES AND COSTS 1

        On May 16, 2018, Flint Allen, filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (“GBS”) after receiving
the influenza vaccination on October 21, 2016. (Petition at 1). On September 27, 2019,
a decision was issued awarding compensation to Petitioner based on the Respondent’s
proffer. (ECF No. 40).

       Petitioner has now filed a motion for attorney’s fees and costs, dated February 4,
2020, (ECF No. 45), requesting an award of $28,421.54 (representing $26,785.00 in fees

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
          Case 1:18-vv-00693-UNJ Document 51 Filed 04/03/20 Page 2 of 2



and $1,636.54 in costs). In accordance with General Order #9 Petitioner filed a signed
statement that he incurred out-of-pocket expenses in the amount of $12.58. (ECF No.
46). Respondent reacted to the motion on February 20, 2020 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded. (ECF
No. 47). Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs.

      Accordingly, petitioner is awarded the total amount of $28,434.12 3 as
follows:

            •    A lump sum of $28,421.54, representing reimbursement for
                 attorneys’ fees and costs, in the form of a check payable jointly to
                 petitioner and petitioner’s counsel and;

            •    A lump sum of $12.58, representing reimbursement for petitioner’s
                 costs, in the form of a check payable to petitioner.

       In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
